8:06-cr-00376-LSC-FG3       Doc # 193     Filed: 04/14/08     Page 1 of 1 - Page ID # 761




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )               CASE NO. 8:06CR376
                                            )
             Plaintiff,                     )
                                            )
             vs.                            )                   JUDGMENT
                                            )
LEONA COLE,                                 )
                                            )
             Defendant.                     )

      In accordance with the accompanying Memorandum and Order,

      IT IS ORDERED:

      1.     The Court has completed the initial review of the Defendant’s motion to

vacate, set aside, or correct his sentence pursuant to 28 U.S.C. § 2255 (Filing No. 187);

      2.     Upon initial review, the Court summarily denies the Defendant's claims raised

in the § 2255 motion, and the motion (Filing No. 187) is summarily denied; and

      3.     The Clerk is directed to mail a copy of this Judgment to the Defendant at her

last known address.

      DATED this 14th day of April, 2008.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                United States District Judge
